Case 8:21-cv-00555-SDM-CPT Document 123-7 Filed 06/06/22 Page 1 of 12 PagelD 2570

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

iGo INCIDENT/INVESTIGATION —
ge 3 £8-037150
Pasco Sher if 5 Of Ie REPORT Date / Time Reported
I | ORI 09/16/2018 19:39 Sun
N LOS 10000 Last Known Secure
: Location of Incident Gang Relat] Premise Type Zone/Tract At Fou 08/19/2018 00:00 Sun
D 14137 AMANDA AVE, Hudson FL 34667 NO Home Of G4 09/03/2018 00:00 Mon
yf) Cue ae) Com) | Weapon/Tools wor 4pPLICABLE ot
N 4 -
7 Theft Grand 300 Less Than 3k Dols : Entry Tul Security
812.014.2C1 i
D Crime Tneident ( )| Weapon / Tools | Activity
A | #2
E Entry | Exit | Security
A
43 Crime Incident ( ) | Weapon / Tools | Activity
Entry | Exit | Security
Mo| 200lWeapon Used/No Tool/Weapon Used, Method Of Entry/Unlocked Window/Door, Object Of T arget/Appliances, Object Of Target/Household
fiems, Object Of Target/Tools/Small Machinery, Offense Type/Grand Thefi, Point of Entry/Garage Door, Point of Exit/Garage Door, Type of
#of Victims ] Type: INDIVIDUAL/ NOT LAW Injury: None Domestic: N
Victim/Business Name (Last, First, Middle) Victim of] DOB Race] Sed Relationship] Resident Status Military
V | Vi | DEEGAN, DARLENE Crime # To Offender Branch/Status
I i g& 67 WF Resident
c Home Address Home Phone
7 14137 AMANDA AVE, Hudson FL 34667- 727-495-4816
M Employer Name/Address Business Phone Mobile Phone
RETIRED (PERFORMER) - -
VYR Make Model Style Color Lic/Lis VIN
CODES: V- Victim (Denote V2, V3) O=Owner (ifother than victim) __R=Reporting Person (if other than victim)
o | Type: INDIVIDUAL/ NOT LAW ENFORCEMENT Injury:
T | Code | Name (Last, First, Middle) Victim of D Race] Sex Relationship] Resident Status Military
H 0 LINDENBURG, ANDREW LAWRENCE Crime # To Offender Branch/Status
7 I Age 59 W | M
R | Home Address Home Phone
5 1832 HOWLE LN, HOLIDAY FL 3469]- 727-505-8137
Employer Name/Address Business Phone Mobile Phone
1 Al Southern Plumbing (PLUMBER)
N Type: Injury:
v Code | Name (Last, First, Middle) Victim off DOB Race} Sex Relationship] Resident Status Military
oO Crime # To Offender Branch/Status
: Age
E Home Address Home Phone
D
Employer Name/Address Business Phone Mobile Phone
L=Lost S=Stolen R=Recovered D=Damaged Z%=Seized B=Bumed C— Counterfeit / Forged F = Found
(“OF = Recovered for Other Jurisdiction)
VI Status rae
# | Codq FrvT. Value O} | QTY Property Description Make/Model Serial Number
vo 3 Ls $50.00 I | TOASTER OVEN HAMILTON BEACH
I 55 s $800.00 1 | MISC HANDTOOLS
P l 55 5 $60.00 1 | BOLT CUTTERS
R |i £3 & 3300.00 1 | STEAM CLEANER SISSELL/Powersteamer
: £ 13 SR $506.00 i | WINDOW AC UNIT GE/AetO5init DTIG9IOOS
E I 13 R $50.00 I | WINDOW AC UNIT DT369005
R 99 | 6 $1.00 4 | LATENT PRINT CARDS
E
x
Officer/ID# COOPER, D. (PATI ) (5579) : Outstanding Stolen Val [Total Stolen]: $1,260.00 [$1 ,260.00]
Invest ID# COOPER, D. (PATI) (5579) Supervisor CARSON, C. (PAT3, PCU3) (47 96)
Complainant Signature Case Status Case Disposition:
Status P en Cleared By Arrest 09/30/2018 Cleared By Arrest 09/30/2018 Page |

 

 

 

 

 

R_CS1IBR Printed By: NB3326, DETLTRECO2 Sys#: 1114342 03/26/2021 07:47

 

 
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Incident Report Additional Name List

 

 

 

 

 

 

 

Pasco Sheriff's Office OCA: 18-037150
a Additional Name List
Victim of
Name Code/# Name (Last, First, Middle} Crime# DOB Age Race Sex
1) WI 1 BRUNO, JEANNINE MS ss
Address /4200 AMANDA AVE , HUDSON, FL 34667- H: 727-495-4697
Empl/Addr Bo - -

Mobile #: 727-495-4697

 

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INCIDENT/INVESTIGATION REPORT
Pasco Sheriff's Office

   

Case# /§-037150

Ss L=Lost S=Stolen R=Recovered D=Damaged %= Seized B=Bumed C=Counterfeit/Forged F = Found

UCR Quantity Type Measure Suspected Type Up to 3 types of activity

Assisting Officers
JULIANO, J. (5868)

Suspect Hate / Bias Motivated: Ayjgne

INCIDENT/INVESTIGATION REPORT
Narr. (cont.) OCA: 18-037150 Pasco Sheriff's Office

 

NARRATIVE

 

 

 

 

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REPORTING OFFICER NARRATIVE OCA
Pasco Sheriff's Office 18-037150
Victim Offense Date / Time Reported
DEEGAN, DARLENE THEFT GRAND 300 LESS THAN 5K DOLS Sun 09/16/2018 19:39

 

 

 

 

RELATED CASES: None

STAT DATA: None

BWC ACTIVATED: Yes

SUPPORT DOCUMENTS: 2 Written Statements, Written Statement Continuations, | Probable Cause Affidavit
SAO INVEST: 10/11/18 at 1500 hours at the Sheriff's Office

RECONSTRUCTION: Between 8/19/18 and 9/3/18 Robert Downey, entered Darlene Deegan‘s garage while
working on her roof. At the time, the Robert had permission to be in the garage to complete the work. While inside
the garage, Robert removed multiple items to include: a window AC unit, a new-in-box Bissell steam cleaner, bolt
cutters, a Hamilton Beach toaster over, and miscellaneous hand tools (total value approximately $1260) without
Darlene’s permission, with the intent to temporarily or permanently deprive Darlene of their use. All these items
were located within close proximity to each other in the rear of Darlene’s garage. Robert was observed by a witness
bringing Darlene’s window AC unit to a nearby residence. The witness contacted the Darlene and the item was
positively identified as hers due to a broken section of the unit. At the time of the theft, only the Robert and Darlene
had access to the garage and there was no forced entry.

CRIME SCENE: The single-family residence at 14137 Amanda Ave, Hudson, Florida 34667. Specifically the
single-car garage and the attic therein, on the south side of the residence.

INTERVIEW: I spoke with the victim, Darlene Deegan, outside her residence at 14137 Amanda Ave. Darlene
advised during the time frame of 08/19/18 and 09/3/18, Robert Downey was assisting her with roof repairs. During
that time, Robert was granted access into the interior of the garage to ensure there were no leaks. Darlene stated she
was always home while Robert was working, but she was inside her office, and did not always monitor Robert as he
worked. Darlene advised she ensured the door to the garage was secure whenever Robert was not working at the
residence. During this time, Robert was living across the street at 14200 Amanda Ave with her friend Jeannine
Bruno.

Darlene advised on 9/2/18, Jeannine arrived at her residence and informed her that Robert had brought a window AC
unit to the house and installed it in the window of the room he was staying in. Jeannine thought this was suspicious
because she had seen him working at Darlene’s house and he stated he got the item from a friend.

Darlene advised she was invited to Jeannine’s residence to determine if the AC unit was hers, and she identified it as
one she had stored in her garage. Darlene stated it was recognizable due to a broken section of the panel on the edge
of the unit. Darlene stated Robert was no longer living at the location due to being arrested a few days prior.

Darlene stated the following morning (9/3/18) she went to her garage to determine if anything else was missing and
immediately noticed a new-in-box Bissell steam cleaner (valued at approximately $300), a Hamilton Beach toaster
oven (valued at approximately $50), and a set of black bolt cutters (valued at $60) were missing from the rear of the
garage. Darlene advised the bolt cutters had been sitting under a pair of yellow bolt cutters on a shelf'in the rear of
the garage, and suspected Robert had to move the yellow cutters to remove the black set. Darlene stated she then
checked the attic of the garage, in which she was storing a Stanley toolbox containing approximately $800 worth of
miscellaneous hand tools.

Darlene informed me that she attempted to move the box with her index finger to determine if it still contained the
tools, and it moved with ease, suggesting it was almost empty.

Darlene advised she did not notify authorities of the theft immediately because Robert was also performing a job for
her involving refurbishing her cabinets. Darlene stated Robert was currently in possession of the cabinets and felt if

 

Reporting Officer: COOPER, D. Printed By: NB3326, DETLTREC02 03/26/2021 07:47 Page 4
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REPORTING OFFICER NARRATIVE BEAL
Pasco Sheriff's Office 18-037150
Victim Offense Date / Time Reported
DEEGAN, DARLENE THEFT GRAND 300 LESS THAN 5K DOLS Sun 09/16/2018 19:39

 

 

 

 

she were to have him arrested for stealing the items from the garage, she would never retrieve her cabinets.
Darlene stated she contacted Robert and met him at 1832 Hoyle Dr, Holiday, Florida 34691 to retrieve her cabinets.
Darlene informed me she was busy and was unable to file a report until 9/16/18.

INTERVIEW: I spoke with Jeannine Bruno (witness) outside her residence at 14200 Amanda Dr. Jeannine advised
Robert Downey had been staying at her residence and had procured work across the street. Jeannine stated Robert
was hired by Darlene to fix her roof. Jeannine informed me, one day after working at Darlene’s residence, he
returned to the residence with a window AC unit. Jeannine asked Robert where he got the item, and he advised it was
from a friend, and proceeded to install the air conditioner into the window of the room he was staying in.

Jeannine stated she kicked Robert out of the residence a few days later due to "volatility" and began questioning the
validity of Robert's story. Jeannine stated she knew Robert had been working at Darlene’s residence the day he came
home with the air conditioner, and felt it was odd that he walked up to the house with the item. Jeannine contacted
Darlene who identified the item as belonging to her.

INTERVIEW: I spoke with Andrew Lindenberg (other) at his residence at 1832 Hoyle Dr. Andrew advised Robert
had been staying with him briefly, but he had kicked him out of the residence. Andrew stated on the ni ght of 9/16/18,
Robert removed the last of his belongings from the residence and left. Andrew believed Robert was traveling to
Moon Lake.

Andrew stated he did not witness Robert bring any items into the house matching the items stolen from Darlene’s
house, but advised he did have a large amount of tools. Andrew stated Robert also brought a Shop Vac to the house
one day and said he received it from a friend.

INTERVIEW: I spoke with Robert Downey (suspect) via telephone at 212-470-3767. Robert initially advised he was
currently in Hernando County, and could not meet with me to discuss the case. Robert advised he was unaware of
any items taken from Darlene’s house and stated he would call me back in 5 minutes to discuss meeting; however, I
did not receive a return phone call.

INVESTIGATION: On 9/16/18 at approximately 2037 hours, I was dispatched to 14137 Amanda Ave, Hudson,
Florida 34667, in reference to a burglary, which was later reclassified as a grand theft. Upon arrival, | made contact
with Darlene and conducted the above interview.

Darlene completed and signed a Written Statement.

Darlene was unable to provide serial numbers for the items taken.

| inspected the garage doors and did not observe any signs of forced entry.

Darlene granted me access into the garage, which I observed to be a single-car garage, which was almost completely
filled with miscellaneous items. Darlene directed me to the rear of the garage, where I observed two window air
conditioner units stacked. Darlene advised the top unit was the one taken by Robert. I observed it to be a white GE
model AETOSLNL 1, bearing serial number DT369005. I observed a plastic section of the unit to be broken and

missing.

At the rear of the garage, | observed shelves containing various houschold items and tools, | observed a set of large
yellow bolt cutter, which Darlene confirmed were the cutter that were on the set that was stolen.

 

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REPORTING OFFICER NARRATIVE ae
Pasco Sheriff's Office 18-037150
Victim Offense Date / Time Reported
DEEGAN, DARLENE THEFT GRAND 300 LESS THAN 5K DOLS Sun 09/16/2018 19:39

 

I photographed the scene to include the garage and the items noted and uploaded the photographs to Evidence.com.

I located a black and yellow Stanley toolbox in the attic of the garage, and observed it to contain a bicycle chain ring
and crank arm, but no hand tools.

I processed the yellow bolt cutters, air conditioner unit, garage door knob, and toolbox for latent prints and lifted a
total of 4 latent prints (1 from the bolt cutters, 1 from the air conditioner, and 2 from the toolbox). I later submitted
the prints to Evidence at the District 1 Office.

I made contact with Jeannine at 14200 Amanda Ave and conducted the above interview. Jeannine completed and
signed a Written Statement.

I conducted a neighborhood check at the following locations:

14134 Amanda Ave, where I made contact with Kristin Gillion ia 803-397-2370). Kristin advised she has
only been at the location since 9/11/18 and was only staying temporarily. Kristin was unable to provide any
information regarding the incident. | observed multiple surveillance cameras on the residence which appeared to
point towards the direct of Darlene’s residence. Kristin advised she did not have access to the footage but provided
me with the property owner's contact information (Marisela Anzziani 727-729-0063).

14203 Amanda Ave, where I made contact with Steve Kissinger QI. 727-815-6710). Steve advised he did not
observe anyone remove any items from Darlene’s residence during the possible time frame of the incident.

I attempted to contact Marisela via telephone but was met with voicemail. I left a message with the case number and
advised Marisela to contact the Sheriff's Office in regards to obtaining the video.

I provided Darlene with my business card and this case number.

I responded to 1832 Hoyle Dr, Holiday, Florida 34691, where I made contact with Andrew Lindenberg and
conducted the above interview.

I contacted Robert via telephone and obtained the above interview. As the time of this report, I still have not received
a return call and have been unable to make in-person contact with Robert.

T conducted a RAPID=BWT search of pawn transactions involving Robert Downey, but did not observe any
transactions involving the stolen items.

Based on the lack of signs of forced entry, it appears the items were taken by someone with access to the garage,
which during the time frame of the incident, were Darlene and Robert. Due to Jeannine advised she personally
observed Robert with what was later determined to be an item involved in the theft (Darlene’s air conditioner), as
well as the proximity of the other items reported stolen to the AC unit and Robert's seeming unwillingness to
cooperate, I determined there is Probable Cause to arrest Robert for the Grand Theft of Darlene’s items,

Due to being unable to make contact with Robert, I completed a Probable Cause Affidavit and transported it
Teletype.

A wants and warrants check on all parties met with negative results.

No further action.

 

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REPORTING OFFICER NARRATIVE

 

 

 

OCA
Pasco Sheriff's Office 18-037150
Victim Offense Date / Time Reported
DEEGAN, DARLENE THEFT GRAND 300 LESS THAN 5K DOLS Sun 09/16/2018 19:39

 

 

 

ICR: 5 hours x $26.00=$130.00

 

Reporting Officer: COOPER, D. Printed By: NB3326, DETLTREC02 03/26/2021 07:47

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Incident Report Suspect List

 

 

 

 

 

 

 

Pasco Sheriff's Office OCA: 18-037150
Name (Last, First, Middle) Also Known As Home Address
1 14200 AMANDA AVE
DOWNEY, ROBERT EDWARD HUDSON, FL 34667
Business Address 212-470-3769
DOB Age Race | Sex| Eth | Hgt Wat Hair Eye Skin Driver's License / State.

 

 

 

 

 

 

 

 

 

 

Ms | ww || | o5i0| 200| Bar| cRN| raR |

 

Scars, Marks, Tattoos, or other distinguishing features

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Reported Suspect Detaif Suspect Age Race Sex | Eth Height Weight SSN
Weapon, Type Feature Make Model Color Caliber Dir of Travel

Mode of Travel
VehYr/Make/Model Drs| Style Color Lic/St VIN
Notes Physical Char

 

Build, MEDIUM

Hair Facial, Clean Shaven
Hair Length / Bald, alding
Hands, Right Handed

 

R_CS8IBR Printed By: NB3326, DETLTRECO2 03/26/2021 07:47 Page 8
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CASE SUPPLEMENTAL REPORT Printed: 03/26/2021 07:47

Pasco Sheriff's Office Oca: 18037150
THE INFORMATION BELOW IS CONFIDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY
Case Status: CLEARED BY ARREST Case Mng Status: NA Occurred: 08/19/2018
Offense: THEFT GRAND 300 LESS THAN 5K DOLS

 

Investigator: VELEZ, J. (5954) Date/Time: (9/19/2018 14:30:35, Wednesday
Supervisor: HAUGHT, H. (5472) Supervisor Review Date/Time: (9/19/2018 15:42:38, Wednesday
Contact: Reference: Print Quality Control

 

Date: 09/19/18

Case #: 18-37150

Lift(s)/Photo(s) by: D. Cooper #5579
Envelope #: |

Ist Evaluator: M. Talamo #5383

2nd Evaluator: J. Velez #5954

Stat Data: N/A

Supplemented by: J. Velez #5954
ICR: 0.25 hrs

Latent(s)/Photo(s) submitted in the above mentioned case are: Insufficient for Comparison

If the Latent(s)/Photo(s) are sufficient for comparison, please submit a request to the Latent Print Unit (LPU) providing
the name (first & last) of any subject(s) for comparison. Please also include the sex, race and date of birth for each
subject along with a SID. If the Latent(s)/Photo(s) are insufficient for comparison, nothing further is needed.

PLEASE NOTE: All Latent(s)/Photo(s) that are sufficient for comparison are automatically entered into our Automated
Fingerprint Identification System (AFIS) whether there is a subject(s) listed or not for comparison. No requests need to
be submitted for this service. If any information is gained from the AFIS submission, it will be supplemented in this
case.

 

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CASE SUPPLEMENTAL REPORT Printed: 03/26/2021 07:47

Pasco Sheriff's Office OCA: 18037150
THE INFORMATION BELOW IS CONFIDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY

 

Case Status: CLEARED BY ARREST Case Mng Status: A/4 Oceurred: (8/19/2018
Offense: THEFT GRAND 300 LESS THAN SK DOLS

 

Investigator: COOPER, D. (5579) Date/Time: 09/19/2018 20:13:35, Wednesday
Supervisor: CARSON, C. (4796) Supervisor Review Date / Time: 09/20/2018 01:21:16, Thursday
Contact: Reference: Supplement Completed

 

RELATED CASE: None

STAT DATA: None

BWC ACTIVATED: Yes
SUPPORT DOCUMENTS: None

On 9/19/18 at approximately 20:10 hours, I attempted to reach Robert Downey via telephone and was sent directly to
voicemail. At this time, Robert Downey has made no effort to contact me about his involvement in this case.

No further action taken at this time.

ICR: .5 hours x $26=$13

 

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CASE SUPPLEMENTAL REPORT Printed: 03/26/2021 07:47

Pasco Sheriff's Office oca: 18037150
THE INFORMATION BELOW IS CONFIDENTIAL -FOR USE BY AUTHORIZED PERSONNEL ONLY
Case Status: CLEARED BY ARREST Case Mng Status: NVA Occurred: 08/19/2018
Offense: THEFT GRAND 300 LESS THAN 5K DOLS

 

Investigator: COOPER, D. (5579) Date/Time: (9/25/2018 02:12:40, Tuesday
Supervisor: CARSON, C. (4796) Supervisor Review Date/Time: (9/25/2018 04:44:46, Tuesday
Contact: Reference: Supplement Completed

 

RELATED CASE: None

STAT DATA: None

BWC ACTIVATED: Yes
SUPPORT DOCUMENTS: None

On 9/20/18, | received an email advising Jeanie from Jeanie’s EZ Out Bail Bonds called regarding Robert Downey. The
email stated Robert wished to turn himself in but Jeanie wished to speak with me first. Jeanie provided the number
727-277-2011 for me to contact her.

On 9/25/18 at approximately 0205 hours, | attempted to call Jeanie at the number provided but was met with voicemail.
I left a voicemail informing Jeanie of when I work and also advising she can contact the Sheriff's Office directly with
any information on the whereabouts of Robert.

I took no further action at this time.

ICR: .5 hours x $26.00=$13.00

 

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CASE SUPPLEMENTAL REPORT Printed: 03/26/2021 07:47

Pasco Sheriff's Office ocaA: 180371350
THE INFORMATION BELOW IS CONFIDENTIAL - FOR USE BY AUTHORIZED PERSONNEL ONLY

Case Status: CLEARED BY ARREST Case Mng Status: V4 Occurred: (08/19/2018
Offense: THEFT GRAND 300 LESS THAN 5K DOLS

 

Investigator: Z/ERDEN, B. M. (6093) Date/Time: 10/04/2018 05:58:53, Thursday
Supervisor: LINDSEY, W. M. (2001) Supervisor Review Date/Time: [0/04/2018 21:49:19, Thursday
Contact: Reference: Supplement Completed

 

RELATED CASE: None

STAT DATA: No

BWC ACTIVATED: Yes

SUPPORT DOCUMENTS: Statement of Miranda Rights form

On 09/30/2018 at 21:40 hours, I was dispatched to Leo Kidd Ave and Ridge Road, Port Richey, for an assist other
agency call. Port Richey PD had made a traffic stop, in which they identified a male subject (later identified at Robert
Downey) that had a PC pickup from the Pasco Sheriff's Office. I took Robert into custody after confirming the PC
pickup through Teletype, via operator #2102. I transported Robert to the Pasco County Jail. While in the booking area, I
read Robert his Miranda rights and he signed a Statement of Miranda Rights form. He chose not to speak with us and
asked for an attorney. All necessary sections of the PC Affidavit were completed and given to the booking deputies.

A wants and warrants check was done on all parties with negative results.

 

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